Case 18-17342-mdc    Doc 135 FiledDocument
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       /                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA




                                                                         C.A. NO.        19-2804
    IN RE: TARANI A. JOHNSON
                                                                         BKY. NO. 18-17342




                                             g    ORDER                                            By           Den.   3:“.

                    AND NOW, this        I
                                             7
                                                 day   of   gig     ,   2019, upon consideration of the notice

     from the Bankruptcy Court (Doc. No. 2), it appearing to this Court that the Appellant in the

     above captioned case has not complied with Rule 8009               of   the Rules   of Bankruptcy Procedure

     and has ﬁailed to   file with the Bankruptcy Court     a   designation of contents for inclusion in the

     record oq appeal and statement of issues to be presented on the appeal, it is hereby ORDERED

     that this lappeal is DISMISSED, and the matter is REMANDED to the Clerk of the United

     States Bankruptcy Court for the Eastern District   of Pennsylvania.



                                                        BY THE COURT




                                                            L
                                                        EDUARDO c. ROBRFIVO
                                                                             14.   4‘44qu
                                                        United States District Judge



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                           JUL
                 8W“
